   Case 2:24-cv-01059-ES-JRA Document 10 Filed 03/08/24 Page 1 of 3 PageID: 265


                        UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY



             CHAMBERS OF                                FRANK R. LAUTENBERG U.S. POST OFFICE
        JOSÉ R. ALMONTE                                       & COURTHOUSE BUILDING
                                                                  2 FEDERAL SQUARE
    UNITED STATES MAGISTRATE JUDGE
                                                                   NEWARK, NJ 07102
                                                                      973-645-3110


                                     March 8, 2024

            LETTER ORDER PURSUANT TO LOCAL CIVIL RULE 16.1


      RE: ZELMA v. HALPERIN et al
       Civil Action No. 2:24-cv-01059-ES-JRA

Dear Counsel:

      On May 9, 2024, at 2:30 p.m. you shall participate in an initial scheduling
conference before U.S. Magistrate Judge José R. Almonte, pursuant to Fed. R. Civ. P. 16.
The conference will be held telephonically. To access the conference telephonically,
counsel are to dial 973-437-5535 and enter Phone Conference ID: 214 417 967#.

       Counsel are advised that the early disclosure requirements of Fed. R. Civ. P. 26
will be enforced. Therefore, counsel shall immediately exchange the information set forth
in Rule 26 without a formal discovery request.

      At least fourteen (14) days prior to the conference scheduled herein, counsel shall
personally meet and confer pursuant to Fed. R. Civ. P. 26(f) and shall jointly submit a
discovery plan to the undersigned not later than five (5) business days prior to the
conference with the Court. The parties shall submit a Joint Discovery Plan using the
attached form available at:
https://www.njd.uscourts.gov/sites/njd/files/forms/R16DiscoveryPlan_1.pdf.

      No formal discovery demands may be issued before the conference with the Court,
other than as permitted by Fed. R. Civ. P. 26(d).

      At the conference, the Court will address scheduling of proposed motions. No
motions are to be filed without written permission from the Court, except for motions in
lieu of Answer under Fed. R. Civ. P. 12 and motions seeking remand that must be filed
within thirty (30) days of removal under 28 U.S.C. § 1447(c). If any motions already
have been filed, the movant shall file a letter immediately explaining the nature and
purpose of the motion.
   Case 2:24-cv-01059-ES-JRA Document 10 Filed 03/08/24 Page 2 of 3 PageID: 266



       Counsel may file unopposed applications for pro hac vice admission. Counsel
should obtain the consent of adverse parties prior to filing the application and shall
advise, in both the cover letter and the proposed Order, of such consent. In addition,
counsel shall follow the requirements of L. Civ. R. 101.1(c) with regard to the contents
of the proposed form of Order and the supporting certifications of local counsel and each
proposed pro hac vice attorney.

       At the conference, all parties who are not appearing pro se must be represented
by counsel who shall have full authority to bind their clients in all pretrial matters.
Counsel shall also be prepared to discuss the merits of the case and shall have
settlement authority. Clients or persons with authority over the matter shall be
available by telephone. See L. Civ. R. 16.1(a).

       Counsel for plaintiff(s) shall notify any party who hereafter enters an appearance
of the above conference and forward to that party a copy of this Order.

      The parties must advise this Court immediately if this action has been settled or
terminated so that the above conference may be canceled.

      Failure to comply with the terms of this Order may result in imposition of
sanctions.

      SO ORDERED this 8th day of March, 2024.



                                                JOSÉ R. ALMONTE
                                                UNITED STATES MAGISTRATE JUDGE


 Orig: Clerk
 cc:   Counsel of Record




                                            2
   Case 2:24-cv-01059-ES-JRA Document 10 Filed 03/08/24 Page 3 of 3 PageID: 267



                ALTERNATIVE DISPUTE RESOLUTION IN THE
                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY


       Mediation is the Alternative Dispute Resolution (ADR) program in this Court.
Mediation is governed by Local Civil Rule 301.1. The mediation program under this
rule is supervised by a judicial officer (at present United States Magistrate Judge Leda
Dunn Wettre) who is available to answer any questions about the program.

        Any district judge or magistrate judge may refer a civil action to mediation. This
may be done without the consent of the parties. However, the Court encourages parties
to confer among themselves and consent to mediation. Moreover, you are reminded
that, when counsel confer pursuant to Rule 26(f) of the Federal Rules of Civil Procedure
and Local Civil Rule 26.1, one of the topics that must be addressed is the eligibility of
a civil action for participation in ADR.

       A civil action may be referred to mediation at any time. However, one of the
advantages of mediation is that, if successful, it enables parties to avoid the time and
expense of discovery and trial. Accordingly, the Court encourages parties to consent to
mediation prior to or at the time that automatic disclosures are made pursuant to Rule
26(a)(1) of the Federal Rules of Civil Procedure.

        If parties consent to mediation, they may choose a mediator either from the list
of certified mediators maintained by the Court or by the selection of a private mediator.
If a civil action is referred to mediation without consent of the parties, the judicial
officer responsible for supervision of the program will select the mediator.

      Mediation is non-judgmental. The role of the mediator is to assist the parties in
reaching a resolution of their dispute. The parties may confer with the mediator on an
ex parte basis. Anything said to the mediator will be deemed to be confidential and will
not be revealed to another party or to others without the party’s consent. The
mediator’s hourly rate is $300.00, which is borne equally by the parties.

      If you would like further information with regard to the mediation program
please review the Guidelines for Mediation, which are available on the Court’s Web Site
www.njd.uscourts.gov and appear as Appendix Q to the Local Civil Rules. You may
also make inquiries of the judicial officer responsible for supervision of the program.




                                            3
